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                EXHIBIT 2
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                                                                                           DEFENDANT'S
                                                                                             EXHIBIT




                                                                                             February 13, 2022


Chief Judge Beryl A. Howell
United States District Court
District of Columbia
333 Constitution Avenue, N.W.
Washington, D.C. 20001



Honorable Chief Judge Howell,


My name is Alex Rybak. I've known llya Lichtenstein for over ten years and would like to speak to his
character. I am confident in my belief that he is not a flight risk.


llya is someone who deeply values his friends and family. When I moved to San Francisco in 2012, llya
was my first friend in a new city. We developed a close connection, and he always made sure to make me
feel included in his community here. We stayed in touch over the years, and even when he moved to
New York, he would always go out of his way to meet with me whenever he was visiting San Francisco.


I've also met llya's family, and I know he cares deeply about them. He's always served as a mentor and
coach for his younger brother, and is invested in his success. I know that he and Heather have been
looking forward to having children one day, and I'm positive that they would want their children to grow
up in their close community of friends and family.


Looking back, I have so many fond memories of happy times with llya in San Francisco. He was one of my
first friends that I introduced to my girlfriend Alina (now wife). He and Heather really made her feel
included in our group of friends, and they were always excited to spend time with us and really get to
know Alina . I know how important it is for them to build a strong network of friends around them, and I
can't imagine them leaving behind everyone they know and love.


In my time knowing llya, I've never known him to be someone who runs away from his problems. I am
confident that he is not a fl ight risk, and I would like to request your consideration in approving his bail.



                                                                       Sincerely,



                                                                       Alex Rybak
